Case 3:25-cv-01145-JAG Documenti-1 Filed 03/12/25 Pagelof3

USDA-FmHA / ae KIh'" OF LOAN
Form FmHA 1940-17 a © 2M 1136
(Rev. 4-92) Type O Regular
#3 Limited
PROMISSORY NOTE Resource
, ‘ Pursuant to:
Name {1 Consolidated Farm & Rural Development Act
C) Emergency Agricultural Credit Adjustment
CARLOS ALBERTO GONZALEZ, RIVERA Act of 1978
State County ACTION REQUIRING NOTE
PUERTO RICO UTUADO 2 Inital toan OD Rescheduling
ED Subsequent loan C) Reamortization
Case No. Date M, 30 1997 (J Consolidated & DO Credit sate
63-15-584~21-0072 ay + subsequent loan C} Deferred payments
| Fund Code Loan No. ©) Consolidatian T Debt write down
43 02 [Conservation
Easement

FOR VALUE RECEIVED, the undersigned Borrower and any cosigners jointly and severally promise to pay to the order
of the Unived States of America, acting through the Farmers Home Administration, United States Department of Agriculture,

?
(herein called the ““Government"’}, of its assigns, at its office in - UTUADO, PUERTO RICO

, or at such other place as the Government may later designate in writing, the principal sum of

NINETY SEVEN THOUSANDS WITH 00/100: -

dollars

(97,000.00

), plus interest on the unpaid principal balance ai the RATE of

net THREE AND THREE QUARTERS-------~~—— percent (___3« 79 >) per annum and

dollars ($
of Noncapitalized interest, If this note is for a Limited Resource loan (indicated in the “Kind of Loan" box above) the
Government may CHANGE THE RATE OF INTEREST, in accordance with regulations of the Farmers Home Adminis-
tration, not more often than quarterly, by giving the Borrower thirty (90) days prior written notice by mail to the Ber-
rower's last known address, The new interest rate shall not exceed the highest rate established in regulations of the Farmers
Home Administration for the type of loan indicated above.

Principal and interest shall be paid in TWENTY ONE

installments as indicated below, except as modified by a different
rate of interest, on or before the following dates:

£ on 1-1-98 “S$ 3,638.00 on 271799

s__ 7,908.00 on T-1-ZOU0 .¢ N/A on

§ N/A on i$ N/A on ;
s N/A on +$ N/A on .
$ N/A on ; 5. ae on :
$ N/A on 75 a ;
and $ / 908.00 thereafter on i-|= of each YEAR until the

principal and interest are fully paid except that the final installment of the entire debtedness evidenced hereby, if not sooner
paid, shall be due and payable ___ TWENTY years from the date of this note, and except that prepayments may be made
as provided below. The consideration for this note shall also support any agreement modifying the foregoing schedule of
payments. {

If the total amount of the loan is not advanced at the time of loan closing, the loan funds shall be advanced to the
Borrower as requested by Borrower and approved by the Government. Approval by the Government will be given provided
the advance is requested for a purpose authorized by the Government. Interest shall accrue on the amount of each advance
fram its actual date as shown in the Record of Advances at the end of this note. Borrower authorizes the Government to
enter the amount(s) and date(s) of such advance(s) in the Record of Advances.

Position 2 "| FmHA 1940-17 (Rev. 4-92)
Case 3:25-cv-01145-JAG Documenti-1 Filed 03/12/25 Page2of3

For each rescheduled. resmortized or consolidated note for applications for Primary and Preservation Loan Service
Programs received prior to November 28, 1990, interest accrued to the date of this instrument which is more than 90 days
overdue shall be added to principal and such new principal shall accrue Interest at the rate evidenced by this instrument.
For applications for Primary and Preservation Loan Service Programs received on or after November 28, 1990, all unpaid

interest accrued to the date of this instrument shall be added to the principal and such new principal shall accrue interest
at the rate evidenced by this instrument.

Every payment made on any indebtedness evidenced by this note shall be applied first to 3 portion of any interest

which accrues during the deferral period, second to accrued interest to the date of the payment on the note account and then
to the principal. Nonprogram loans are not eligible for deferral.

Prepayments of scheduled installments, or any portion of these installments, may be made at any time at the option of the
Borrower. Refunds and extra payments, as defined in the regulations (7 CFR §1951.8) of the Farmers Home Administration accord-
ing to the source of funds involved, shall, after payment of interest, to be applied to the last installments to become duc under this
note and shall not affect the obligation of Borrower to pay the remaining installments as scheduled in this note.

Ifthe Government at any time assigns this note and insures the payment of it, Borrower shall continue to make payments to
the Government as collection agent for the holder, While this note Is held by an insured holder, prepayments made by Borrower
may, at the option of the Government, be remitted by the Government to the holder promptly or, except for final payment, be
retained by the Government and remitted to the holder on an installment due date basis. The effective date of every payment made
by Borrower, except payments retained and remitted by the Government on an instaliment due date basis, shall be the date of the
United States Treasury check by which the Government remits the payment to the holder. The effective date of any prepayment
retained and remitted by the Government to the holder on an instaliment duc date basis shall be the date of the prepayment by Bor-

rower, and the Government will pay the interest io which the holder Is entitled accruing belween such date and the date of the
Treasury check to the holder.

Any amount advanced or expended by the Government for the collection of this note or to preserve or protect any security for
the loan of otherwise expended under the terms of any security agreement or other instrument executed in connection with the loan

evidenced by this note, at the option of the Government shall become a part of and bear interest at the same rate as the principal of

the debt evidenced by this note and be immediately due and payable by Borrower io the Government without demand.

Property constructed, improved, purchased, or refinanced in whole or in part with the loan evidenced by this note shall not be
Jeased, assigned, sold, transferred, or encumbered, voluntarily or otherwise, without the written consent of the Government. Uniess
the Government consents otherwise In writing, Borrower will operate such property as a farm if this is a Farm Ownership Joan.

If “Consolidation and subsequent loan,” ‘Debt write down,” ‘'Consolidation,"* “Rescheduling,"’ or ‘‘Reamortization” is
indigated in the “Action Requiring Note’ block above, this note is given to consolidate, reschedule or reamortize, but not in
sausfaction of the unpaid principal and interest on the following described note(s) or assumption agreement(s){new terms):

Peon ton. FACE AMOUNT] INT, RATE DATE ORIGINAL BORROWER | LAST INSTALL. DUE
5 Ty: "ay 19
5 % 19 19
$ %y 19 19
5 Me 19 19
$ Te 119 19
$ % 19 19
$ % 19 19

Security instruments taken in connection with the loans evidenced by these described notes and other related obligations are
not affected by this consolidating, rescheduling or reamortizing, These security instruments shall continue to remain in effect and

the security given for the loans evidenced by the described notes shall continue to remain as security for the loan evidenced by this
note, and for any other related obligations. .

REFINANCING (GRADUATION) AGREEMENT: If at any time it shall appear to the Government that the Borrower
may be able to obtain financing from a responsible cooperative or private credit source at reasonable rates and terms for
loans for similar purposes and periods of time, Borrower will, at the Government's request, apply for and accept a loan(s)
in sufficient amount to pay this note in full and, if the lender is a cooperative, to pay for any necessary stock. The pro-

visions of this paragraph do not apply if the loan represented by this promissory note was made to the Borrower as a non-
program loan.

AHR ae

~t
Case 3:25-cv-01145-JAG Documenti-1 Filed 03/12/25 Page 3of3

HIGHLY ERODIBLE LA... AND WETLAND CONSERVATION AGRL .AENT: Borrower recognizes that the loan
described in this note will be in default should any loan proceeds be used for a purpose that will contribute to excessive erosion of
highly erodible land or to the conversion of wetlands to produce an agricultural commodity as further explained in 7 CFR Part 1940,
Subpart G, Exhibit M. Lf (1) the term of the loan exceeds January 1, 1990, but not January 1, 1995, and (2) Borrower Intends to pro-
duce an agricultural commodity on highly erodible land that is exempt from the restrictions of Exhibit M until either January 1,
1990, or two years after the Soll Conservation Service (SCS) has completed a soil survey for the Borrower's land, whichever is later,
the Borrower further agrees that, prior to the loss of the exemption from the highly erodible land conservation restrictions found in
7 CFR Part 12, Borrower must demonstrate that Borrower is actively applying on that land which has been determined to be highly
erodible, a conservation plan approved by the SCS or the appropriate conservation district in accordance with SCS's requirements.
Furthermore, if the term of the loan exceeds January 1, 1995, Borrower further agrees that Borrower must demonstrate prior to
January 1, 1995, that any production of an agricultural commodity on highly erodible land after that date will be done in com-

pliance with a conservation system approved by SCS or the appropriate conservation district in accordance with SCS's
requirements. ,

DEFAULT: Failure to pay when due any debt evidenced by this note or perform any covenant of agreement under this note
shall constitute default under this and any other instrument evidencing a debt of Borrower owing to, insured or Guaranteed by the
Government or securing or otherwise relating to such debt; and default under any such other instrument shall constitute default

under this nole. UPON ANY SUCH DEFAULT, the Government at its option may declare all or any part of any such indebledness
immediately duc and payable. . .

This Note is given as evidence of a loan to Borrower made or insured by the Government pursuant to the Consolidated Farm
and Rural Development Act, or the Emergency Agricultural Credit Adjustment Act of 1978 and for the type of loan as indicated in
the '*Kind of Loan"’ block above. This Note shall bc subject to the present regulations of the Farmers Home Administratio

nand to
its future regulations not inconsistent with the express provisions of this note.

Presentment, protest, and notice are waived.

(SEAL) A,
3 (Borrower)
Vaussta Gon aes
VANESSA GONZALEZ RIVERA
HC 03 BOX 14182
UTUADO, PR 00641
RECORD OF ABYANCES
AMOUNT DATE AMOUNT DATE . AMOUNT DATE
$97,000.00 5-30-97 [5 $
$ $ 5 f
$ 3 $ ;
3 $ 3
“U.S. Gavernrrent Printing Offic: 1804 — 656-O6ermacat TOTAL $97,000.00

Pasition 2 tue FmHA 1940-17 (Rev. 4-92)
